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U.S. Department of Justice
United States Attorney

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
Division: Atlanta py
(USAO: 2019R00723)

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION

COUNTY NAME: Fulton DISTRICT COURT NO. 1:19-CR Pe Te OB «
MAGISTRATE CASE NO.
X Indictment Information Magistrate's Complaint
DATE: DATE:

DATE: October 8, 2019

UNITED STATES OF AMERICA SUPERSEDING INDICTMENT
vs. Prior Case Number:

JOHN LEE Date Filed:

GREATER OFFENSE CHARGED: X Felony Misdemeanor

Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? Yes X No

Is the defendant a fugitive? Yes XNo

Has the defendant been released on bond? Yes XNo

Will the defendant require an interpreter? Yes X No

District Judge:

Attorney: Nathan P. Kitchens
Defense Attorney:
